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 4   Telephone: (916) 554-2731
 5
 6                              IN THE UNITED STATES DISTRICT COURT
 7                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,                     )          CASE NO. CR.S-07-058 FCD
                                                   )
10                          Plaintiff,             )          STIPULATION CONTINUING STATUS
                                                   )          CONFERENCE AND EXCLUDING
11          v.                                     )          TIME; ORDER
                                                   )
12   DANIEL MILLAN SANCHEZ, and                    )
     JACOBO FERNANDEZ,                             )
13                                                 )
                            Defendant.             )
14                                                 )
15
            It is hereby agreed by the parties through their respective counsel, and requested of the Court,
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     that the status conference presently scheduled for Monday, April 2, 2007, be continued to Monday,
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     May 7, 2007, at 9:30 a.m. The reason for the request is that the parties have recently been sent the
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     full discovery in the case and need time to review it with their clients and to explore possible
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     disposition of the case. Additionally, counsel for defendant Fernandez is currently in trial which is
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     expected to last until approximately May 10, 2007, further compressing the time he currently has
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     available to review the discovery and consult with his client.
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            It is also agreed that the time between (and including) April 2, 2007, and May 7, 2007, be
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     excluded from the calculation of time under the Speedy Trial Act pursuant to 18 U.S.C. §
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     3161(h)(8)(B)(iv) (reasonable time necessary for effective defense preparation) with the Court to
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     find that the ends of justice served by the continuance outweigh the best interests of the defendant
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     and the government in a speedy trial.
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            Finally, counsel for defendant Sanchez has filed a motion to disclose informants, a motion for
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                                                        1
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 1   discovery and a motion for 404(b) evidence. Those motions were filed prior reviewing all the
 2   discovery or discussing the matter with government counsel to see what if any issues could be
 3   resolved. Counsel for defendant Sanchez has agreed to withdraw the motions with the understanding
 4   that he could refile the motions at a later time, if necessary, under a schedule to be agreed upon by
 5   the parties and the Court.
 6
 7   Dated: March 29, 2007
 8                                                           McGREGOR W. SCOTT
                                                             United States Attorney
 9
                                                   By:       /s/ Richard J. Bender
10                                                           RICHARD J. BENDER
                                                             Assistant U.S. Attorney
11
12   Dated: March 29, 2007
13                                                              /s/ Robert L. Forkner
                                                              ROBERT L. FORKNER
14                                                           Attorney for Daniel Sanchez
15
     Dated: March 29, 2007
16
                                                                /s/ Preciliano Martinez
17                                                            PRECILIANO MARTINEZ
                                                             Attorney for Jacobo Fernandez
18
19
20   It is SO ORDERED,
21   Dated: March 29, 2007.
22                                                        _______________________________________
                                                          FRANK C. DAMRELL, JR.
23                                                        UNITED STATES DISTRICT JUDGE
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